       Case 5:13-cv-01626-LSC Document 198 Filed 09/25/18 Page 1 of 3                    FILED
                                                                                2018 Sep-25 PM 04:03
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION


UNITED STATES ex rel         :
                             :
LEAMON M. FITE III,          :
                             :
         Relator-Plaintiff,  :
                             :                            CIVIL ACTION NO.
v.                           :                            5:13-cv-1626-LSC
                             :
APERIAN LABORATORY SOLUTION :
LLC; EAST ALABAMA HEALTH     :
CARE AUTHORITY d/b/a EAST    :
ALABAMA MEDICAL CENTER;      :
SUMMIT DIAGNOSTICS, LLC;     :
COMPASS LABORATORY SERVICES, :
LLC; TOTAL DIAGNOSTIC        :
SOLUTIONS, LLC; AND JANNIE   :
CHAPMAN                      :
                             :
               Defendants.   :

    THE UNITED STATES’S NOTICE OF CONSENT TO DISMISSAL

      On September 25, 2018 Relator Leamon M. Fite III, Aperian Laboratory

Solutions, LLC, and The East Alabama Health Care Authority filed a Notice of

Settlement and Stipulation of Dismissal, ECF No. 197. Pursuant to the False Claims

Act, 31 U.S.C. § 3730(b)(1), the United States hereby notifies the Court that United
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States consents to the dismissal of claims as set out in the Notice of Settlement and

Stipulation of Dismissal, ECF No. 197, based on its determination that such a

dismissal is commensurate with the public interest.

 Date: September 25, 2018                Jay E. Town
                                         United States Attorney

                                         s/Don B. Long III
                                         Don B. Long III
                                         Assistant United States Attorneys
                                         United States Attorney’s Office
                                         Northern District of Alabama
                                         1801 Fourth Avenue North
                                         Birmingham, Alabama 35203
                                         205-244-2001
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                           CERTIFICATE OF SERVICE

      I electronically filed the foregoing with the Clerk of the Court on September

25, 2018 using the CM/ECF system, which will send notice of the above to

Plaintiff’s counsel of record.

                                      /s/Don B. Long III
                                      Don B. Long III
                                      Assistant United States Attorney United
